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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


 Civil Action No. 16-cv-02845-JLK

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 SAN MIGUEL POWER ASSOCIATION, INC.

        Defendant.


                     STIPULATION OF DISMISSAL WITH PREJUDICE


       Plaintiff United States of America, through undersigned counsel, and Defendant San

Miguel Power Association, through undersigned counsel, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii), hereby stipulate to the voluntary dismissal of this action with prejudice, with

each party to bear its own fees and costs.

         Respectfully submitted by the parties on July 10, 2019.




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                           CERTIFICATE OF SERVICE (CM/ECF)

       I hereby certify that on July 10, 2019, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system which will send notification of such filing to the following e-mail

addresses:

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